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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          SALVADOR LARA, as Personal                        CASE NO. C19-1673-JCC
            Representative of the Estate of SARAI
10          LARA, et al.,                                     MINUTE ORDER
11
                                   Plaintiffs,
12
                   v.
13
            THE MACERICH COMPANY, et al.,
14
                                   Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.

17 Coughenour, United States District Judge:

18          This matter comes before the Court on the parties’ stipulated dismissal (Dkt. No. 30).

19 Under Fed. R. Civ. P. 41(a)(1)(A)(ii), a case may be dismissed without a court order if there is a

20 “stipulation of dismissal signed by all parties who have appeared.” All parties who have

21 appeared stipulate that all claims shall be dismissed with prejudice. (Dkt. No. 30 at 2.) Thus,

22 under Fed. R. Civ. P. 41(a)(1)(A), this stipulation is self-executing. This action is DISMISSED

23 with prejudice and without an award of costs or attorney fees to either party. The Clerk is

24 directed to CLOSE this case.

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 1         DATED this 12th day of January 2021.

 2
                                                  William M. McCool
 3                                                Clerk of Court
 4                                                s/Paula McNabb
 5                                                Deputy Clerk

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